Case 5:06-cv-00212-WTH-GRJ Document 1 Filed 06/22/06 Page 1 of 15 PagelD 1

uo sss ~ = seta = 99 oo, oe
Name -
Ulysses D. Strong. | -e
Prison Number : Vie po: Soe
39187-018 a ~
FCC, P.0. Box 1032
Col Fl, i oY

Address or Place of Confinement

Note: If represented by an attorney, write attorney’s name, address & telephone number

United Pates District Coup

Middle District

1+ Qeaka Florida
SLATER LST 2 PSMA:
_ Ulysses David. Strong - CASENO. 5106- tv-2ne- We SOGIET
Full Name (First, Middle, Last) oS . "(to be supplied by the Clerk of the
United States District Court)
Petitioner,
vs.
» Paige Augustine, Deputy Warden ‘PETITION FOR
Name of Warden WRIT OF HABEAS CORPUS
(or other authorized person having custody of petitioner) _ PURSUANT TO 28 U.S.C. § 2241
BY A PERSON IN FEDERAL CUSTODY >

Respondent. .

PLEASE COMPLETE THE FOLLOWING (check the appropriate number):

This petition concerns: -

1. a conviction CAUTION: If you are. attacking a federal conviction,

2. a sentence - sentence or judgment, you must

3. jailorprison conditions first file a direct appeal or motion under

4. prison discipline ' 28 U.S.C. § 2255 in the federal court which
5. a parole problem - entered judgment. —
6._ xx other ,

PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241 BY A PERSON IN FEDERAL CUSTODY
. . - . Page 1 of 5
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PETITION

(1) Place of detention: FCC, Coleman, Med

(2) Name and location of court which imposed sentence: Middle District of Tampa Florida

(3) Offense(s) and indictment numoer(s) (if known) for the sentence imposed:
___ Armed Bank Robbery Number -8:00-CR-188-T-17 MAP

(4) The date upon which sentence was imposed and the terms of the sentence:
February 9, 2001. Term of sentence, 121 months 3, 10 years, one months.

—Expirattionidate of ful} sentente,” June-20,- 2010
(5) What was your plea (check one): Not guilty ( ) Guilty (K): ‘Nolo contendere { }

(6) Kind of trial (check one): Jury ( ) Judge only ( X)

No (X)

(7) + Did you appeal from the judgment of conviction or the imposition of sentence: Yes( )
(8) . If you did appeal, answer the following for each appeal:

FIRST APPEAL:
Name of court:
Grounds raised (list each): -

1)

- 2)

Result/Date.of result:

SECOND APPEAL: ”
Name of court:
Grounds raised (list each):
1)
2)
Result/Daté of result:

GROUNDS FOR THIS 28 U.S.C. § 2241 PETITION

(9)  *° State CONCISELY every ground on which you claim that your sentence is being executed in an illega!
manner. Summarize briefly the facts supporting each ground. Ifnecessary attach additional pages

behind this page. .

CAUTION: If you fail to set forth all grounds in this petition. you may be barred trom presenting
additional grounds at a later date.

PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241 BY A PERSON IN FEDERAL CUSTODY

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Sumarize of Facts
I Ulysses D. Strong, contend that prior custody JAIL TIME CREDIT from
May 24, 2000 to February 9, 2001. A total of 261 days. Or converted into months,
would be 8 months, has not been applied toward, a deduction from my sentence.
Federal Bureau of Prisons records indicate a deduction of 366 days, one year,
one day, for good conduct credit, from date of imposition of sentence, February
9, 2001 from full expiration date of sentence Jume 20, 2010. This good conduct
credit deduction reduced my sentence by one year, and one day. Now giving me a
release date of June 19, 2009. This date would requirer me to serve 109 months
of a 121 months sentence.

Bureau of Prisons somehow failed to deduct 261 days, which is a total of 8
months, prior custody credit. Now, subtract, 8 months, from 109 months, is 101
months left to serve on 121 months.

Or subtract total of 20 months, from 121 months, equal 101 months to serve.

Using, this true and correct computation of sentencing information. My cor-

rect release date would be near or on November 19, 2008.

Please See: Bureau of Prisons response dated, May 24, 2006. Mr. Harrell Watts,
said that if my prior custody credit of 261 days were not applied, my full term
would be March 8, 2011. That would be a 129 months sentence. I received a 121
months sentence.

Full expiration date of sentence 121 months - June 20, 2010
Subtract, good conduct credit, 366 days _712_months

Total is cle SSE LACELGUT lee cece new e eee 109 months June 19, 2009
Subtract, prior custody time, 261 days _-_8 months

Total time to serve 101 months November 19, 2008

Or, subtract 7 months, from 108 months, equal=101 months.

Let, the honorable court, I pray, acknowledge the fact, that the petitioner is
a layman in legal matters. Therefor, I pray, that the court omit, my previous
incorrect conclusion, that my release date would be September 30, 2008.

The correct release date would be near or on November 19, 2008.

Relief Sought

After.court review petitoner cause.... And if the court find favor in my claim,
that I was in fact denied, prior custody time already served, of 261 days, for
county jail time. The defendant request that the court order Bureau of Prisons

to grant such prior time served.in the county jail of 8 months. Correcting my
release date, to show a date on or around November 19th, 2008.
(10)

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GROUND ONE_Bureau of Prisons didn't apply Prior Custody Credit

of 261 days, (JAIL TIME CREDIT).

Supporting FACTS for GROUND ONE (tell your story BRIEFLY without citing cases or law).

CAUTION: You must state facts, nor conclusions, in support of your grounds. A rule of
__ thumb to follow is -- who did exactly what to violate your rights at what time or
- place.

BUREAU OF PRISONS, has not applied my prior custody credit, from date of
arrest, May 24, 2000 to February 9, 2001, date of sentencing, a total time
served in county jail of 261 days, a total of 8 months. With this added 8

months prior time.served, and 366 days good conduct time,A total deduction

of. 20 months, from 121 months. =19-08

GROUND TWO

Supporting FACTS for GROUND TWO (tell your story BRIEFLY without citing cases or law).

Have you presented the claims raised in Question #9 of this petition to prison officials in a prison
administrations appeal? ° oo ,

Yes (X) ~No( ) Ifyour answer is no, explain why not:

If your answer is yes, answer the following for each administrative appeal:

FIRST ADMINISTRATIVE APPEAL Level of appeal: Records, Dept. FCC Coleman
Grounds raised (list each): oo
rounds raised ( Jail time Credit 261 days, not awarded.
2) _Denied, July 20 2005.

Resuli/Date of result:

‘SECOND ADMINISTRATIVE APPEAL ~- Level of appeal:_BP-9 to Deputy, Warden

Grounds raised (list each): .
2) : :
Result/Date of result_Denied, August 26, 2005 .

PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241 BY A PERSON IN FEDERAL CUSTODY

Pege 3 of 5

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(11)

(12)

(14)

Level of appeal:_Regional Administrative

THIRD ADMINISTRATIVE APPEAL

Grounds raised (list each): "
1) Request computation error 261 days be deducted. Sentence corrected.

2)
Result/Date of result;__Denied, October 2, 2005

FOURTH ADMINISTRATIVE APPEAL Level of appeal; Central Office Administrative
Grounds raised (list edch):

1) Request, jail time credit be deducted from sentence. 261 days.

2)
Result/Date of result; Denied, May 24, 2006

Is the grievance process completed? Yes ( x) No( )

PREVIOUS PETITIONS

Have you filed previous petitions for habeas corpus under 28 U.S.C. § 2241 or 28 U.S.C. § 2255, or any
other applications, petitions or motions with respect to the claims raised in Question #9 of this petition?

Yes( ) No & )

If your answer to Question #13 was yes, give the following information for each previous petition:

FIRST PREVIOUS PETITION
Name of court:
Nature of proceeding:
Grounds raised (list each):

1)

2)
Result/Daite of result:

SECOND PREVIOUS PETITION
Name of court:___
Nature of proceeding:
Grounds raised (list each):

1)

2)
Result/Date of result:

If the claims raised in Question #9 of this petition concern your conviction or sentence, explain why you .
are filing your.petition pursuant to § 2241 instead of § 2255.

PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241 BY A PERSON IN FEDERAL CUSTODY

Page 4 of 5

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(15) Are you presently represented by counsel?
Yes ( ) No (X)

If so, provide your attorney’s name, address, and telephone number: _

(16) If you are seeking leave to proceed in forma pauperis, have you completed the application setting forth
the required information?

Yes (X) No ( )

Note: Lf your answer is no, you must send a $5.00 filing fee to the court with your petition.

WHEREFORE, petitioner prays that the court grant petitioner relief to which he may be entitled in this
proceeding.

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.

Site L9, 2606 C Lt psrir LY Sfyuis
Cosy

€Date) _ (Si guatureei Petitioner)

(Signature of Attorney, if any)

PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241 BY A PERSON IN FEDERAL CUSTODY
Page 5 of 5

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coc 1331.13.A
April 1, 1996
Attachment A

INFORMAL RESOLUTION FORM

NOTICE TO INMATE: Bureau of Prisons Program Statement 1330.13 requires that except as provided in 5342.13(b) an
jmmate shall first present an issue of concern informally to staff and staff shall informally attempt to resolve
the issue prior to submitting a BP-3.

KR KK KK KKK KKK KKK KKK KKK KKK KE KKK KEE KEKE EKEKEEKEKKKKK KE KREEKKKEKKEKEK

INSTRUCTIONS: Counselors will ccmplete and attach this form to each Request for Administrative Remedy Form (87-
9) submitted, if not informally resolved.

STRoAE, hhis.sé5 BYUET- O18 YS Cel 7-25 OF

Inmate Name Register No. Qtrs./Unit Date initiated

1. Specific complaint (one 8 4%” x 11” continuation page may be attached): :
L0¢  h4LCASE Ldn peck BIOL Late 2S eh Cwiriet, 2 LAE
ALA “Be Leissorclt cl PLL Lood Lane ~~ Le Nail Loire Lite be $2
LL ehhinsé datz, Should het September" 30th, Zon?) whe7 Co~ (5-9).

2. Wnat efforts have been made by the inmate to resolve the complaint informally? To when has <he inmate
spoken?

—-

i
3. What action does the inmate wish to be taken to correct the issue?

Zo. Lt #lirdtocl All (" 261) Days Jail Time Credit; eee

Correctional Counselor's Comments (including actual steps taken to resolve):

See Te echt Cope fe Abemea.

Lig Zs 27 2 Loe Staf£ Circle One:

Correctional Counselor Dara

Informally Resolved ( Not Informal) ved ;
nit Manager's Review

Unit Manager Date
Distribution by Correctional Counselor:
1, Tf complaint is informally resolved, forward original to Administrative Remedy Clerk for filing.

= complaint is not informally resolved, attach original to 5P-9 Form and forward ts Administrative Remedy
k for processing.

BP-8 Issued BP-3 Returned Be-9 Issued Be-3 Returned B-3 Delivered ts
to Inmate to Counselor to Inmate to Counselor aAcmin, Remedy Clerk

Date: De edP- OK AL % so Layee leck

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BP-S148.055 INMATE REQUEST TO STAFF CDFRM
SEP 98
U.S. DEPARTMENT OF JUSTICE

FEDERAL BUREAU OF PRISONS

—— — — —

TO: (Name and Title of Staff Member) RFCORDS| DATE:

JULY 20th, 2005

Ms. McGILL
To. 39187-018

“WORK ASSIGNMENT:
UNTT ORDERLY

UNIT:

( C-1

SUBJECT: (Briefly state your question or concern and the solution you are requesting.
Continue on back, if necessary. Your failure to be specific may result in no action being

taken. If necessary, you will be interviewed in order to successfully respond to your
request.
MY RELEASE DATE IS INCORRECT. YOUR RECORDS
STATES, MY RELEASE ON JUNE 26th, 2009. WHICH —
IS INCORRECT COMPUTATION OF MY RELEASE DATE.
THE.CORRECT DATE FOR MY RELEASE IS (SEPTEMBER 30th, 2008).
(Do not write below this line)

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This form may be replicated via WP)

ILE IN SECTION 6 UNLESS APPROPRIATE

This form replaces BP-148.070 dated Oct 86
and BP-S1i48.070 APR 94

SECTION 6

FOR PRIVACY FOLDER
Case 5:06-cv-00212-WTH-GRJ Documenti_ Filed 06/22/06 Page 9of15PageIDQ9.

8. DEPARTMENT OF JUSTICE REQUEST FOR ADMINISTRATIVE REMEDY

Jeral Bureau of Prisons

Type or use ball-point pen. If attachments are needed, submit four copies. Additional instructions on reverse.

om: _Strong Ulysses D. 39187-018 c-1 Coleman, Med
LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION

‘art A- INMATE REQUEST

My release date computation is incorrect.

Records, has me serving, 118 months, ona /p'
121 month sentence. C ofp VY
I should only be serving, 100 months, and

12 days.

Records, show my release date on June 19,
2009.

Correct release date should be September
30th, 2008.

Please correct the error.

tugust Ist, 2005

DATE
-art B- RESPONSE

DATE WARDEN OR REGIONAL DIRECTOR

dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 calendar days of tire date of this response.

ORIGINAL: RETURN TO INMATE CASE NUMBER:

art C- RECEIPT

tum to:

FAR Ake REM NTT Om racer Ree 8A weet
Case 5:06-cv-00212-WTH-GRJ Lichnght 1. Filed 06/22/06 Page 10 of 15 PagelD 10

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2009.

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February

response to your Request for Administrative Remedy

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(GCT)

. review of tnis matter reveals that
to 121
days of prior custody credit and can
of Good Conduct
GCT instead of the maximum of 54 days per y
withdrawal from the GED program in March 2002. “In addition,

months.

You are

in which you state the Records §
have incorrectly computed your sentence and your release
should be on or about September 30,
You are requesting this computat

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to the above information,
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a disallowance of 27 days GCT.

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your sentence has been computed
with Bureau of Prisons policy and
edy is denied

for Administrative Rem

from the date of this response.

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Paige augusting) Beputy Warden

3800 Camp Cr
within

are dissatisfied with this response, you may appeal by
@ BP-10 to the BUREAU OF PRISONS,
REGIONAL DIRECTOR,
GA 30331-6226,

SOUTHEAST REGIONAL

eek Parkway, SW,
20 calendar days

_ US! DepafierP-06-GYe00212-WTH-GRJI DOCUMENT RepibHACAhnA ative RARett AppedrPage!D 11

Fexteral Bureau of Prisons

Type or use ball-point pen. if attachments are needed. submit four copies. One copy of the completed BP-DIR-9 including any attachments must be submitted
with this appeal

From: Strone Ulysses D 39187-018 C-1 Coleman-Med

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
Part A—REASON FOR APPEAL

My release date computation is incorrectly computed. BOP records has my release
date as being on June 19th, 2009. Mistakenly, BOP computed my date from the date
of sentencing... February 9th, 2001. My release date should have been computed
from date of my arrest... May 24th, 2000. Because of this error, I will
serve ( 9 1/2 years ) on a 10 years, 1 month sentence. 95 % of my sentence, instead
of the required 85 % to serve on a federal sentence, as mandated by BOP's policy.
My release date should be on or about September 30th, 2008. After, calculating

in 261 days jail time credit, Which has not been calculated into my sentence.

September 5th, 2005 TL Lig Adds tle Z F qh tlie,

DATE SIGNATURE OF REQUESTER™
Part B—RESPONSE

DATE REGIONAL DIRECTOR

If dissatisfied with this response, you may appeal to the General Counsel. Your appeai must be reccived in the General Counsel's Office withia 30 calendar
days of the daic of this response.

Dei Ay oY)
ORIGINAL: RETURN TO INMATE CASE NUMBER: 2. eet eb

CASE NUMBER:

LAST NAME, FIRST. MIDDLE INITIAL REG. NO UNIT INSTITUTION

sp aaqyie
Baan BP-LIMiS

ESD Tyee DATE Crauinne aditinne nat cake SIGNATURE RECIPIENT OF REGIONAT APPFAT APRIL (5&2

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eee

Regional Administrative Remedy Appeal No. 384492-R1
Part B - Response

This is in response to your Regional Administrative Remedy Appeal receipted
September 20, 2005. You state your sentence computation is incorrect. It is your
contention you are being required to serve 95% of your sentence when you should only
serve 85% of the sentence. You also contend credit from May 24, 2000, February 9,
2001, a total of 261 days has not been applied toward the sentence. It is your request
the sentence computation be adjusted to reflect a release date on or about

September 30, 2008.

Records indicate you were arrested on May 24, 2000, and remained in custody. On
February 9, 2001, you were sentenced in the Middle District of Florida to a term of 121
months for Armed Bank Robbery. Your sentence has been computed as commencing
on the date of imposition, February 9, 2001, and you have been awarded presentence
custody credit from May 24, 2000, a total of 261 days. Your projected release date is
June 19, 2009, requiring you to serve 108 months and 27 days which is approximately
89% of the total sentence. This percentage also includes a 27 day disallowance of
good conduct time.

Title 18 U.S.C. §3624(b) states, “A prisoner who is serving a term of imprisonment of
more than one year, other than a term of imprisonment for the duration of the prisoner's
life, may receive credit toward the service of the prisoner's sentence, beyond the time
served, of up to 54 days at the end of each year of the prisoner's term of imprisonment,
beginning at the end of the first year of the term, subject to determination by the Bureau
of Prisons that, during that year, the prisoner has displayed exemplary compliance with
institutional disciplinary regulations.” Good conduct time is awarded based on time
actually served toward a sentence, not the total sentence. You may earn 54 days per
year for each year served until there is less than a year remaining to serve. The final
award of good conduct time will be prorated based on the time required to serve on the
partial year. There is no statutory or other provision to award good conduct time based
on the total sentence or which mandates a prisoner is only required to serve 85% of a
federal sentence. Your federal sentence has been accurately computed with the
appropriate deductions for presentence custody credit and good conduct time.

Your Regional Administrative Remedy Appeal is denied. If dissatisfied with this
response, you may appeal to the Office of General Counsel, 320 First Street, NW,
Washington, DC 20534. Your appeal must be received in the Office of General
Counsel within 30 calendar days of the date of this response.

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Date AeA SER

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‘* Case 5:06-cv-00212-WTH-GR3J Document 1 Filed 06/22/06 Page 13 of 15 PagelD 13

ULYSSES STRONG, 39187-018

COLEMAN MED FCI UNT: C 1-2 OTR: CO1-021U
P.O. BOX 1022 .

COLEMAN, FL 33521

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Administrative Remedy No. 384492-A2
Part B - Response

This is in response to your Central Qffice Administrative Remedy
Appeal in which you coritend your sentence computation is
incorrect. You state your current projected satisfaction date
does not reflect prior custody credit of 261 days. You request
your computation be adjusted to show a release date of
September 30, 2008. ‘

We have reviewed the attachment to your appeal which shows how
you arrived at the requested release date of September 30, 2008.
Specifically, you subtracted 366 days of Good Conduct Time and
261 days of prior custody credit from your full term date of

June 20, 2010. Our review reveals this is incorrect as the full
term expiration date of June 20, 2010, already reflects the award
of 261 days prior custody credit. If the prior custody credit
was not applied, your full term date would be March 8, 2011. In
light of the above, we concur with the previous findings that
your sentence has been computed as directed by federal statute

and Program Statement 5880.28, Sentence Computation Manual (CCCA
of 1984).

Accordingly, your appeal is denied.

os

tlh. AY tn,

Harrell tts, Administrato
Nationa] ate Appeals(M7

